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 3                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 4                                      AT TACOMA

 5
        C. P., by and through his parents, Patricia            JUDGMENT BY THE COURT
 6
        Pritchard and Nolle Pritchard, S.L., by and
        through her parents, S.R. and R.L.;                    CASE NO. 3:20-cv-06145-RJB
 7
        EMMETT JONES, individually and on
        behalf of others similarly situated; and
 8
        PATRICIA PRITCHARD, individually,
 9                                Plaintiffs,
10         v.
11
        BLUE CROSS BLUE SHIELD OF
12
        ILLINOIS,
13
                                  Defendant.
14

15 XX      DECIDED BY THE COURT. This action came to consideration before the Court. The
           issues have been considered and a decision has been rendered.
16
           The Court has ordered that:
17
           The class is entitled to declaratory relief as follows:
18

19         Blue Cross, its agents, employees, and successors, including Health Care Service
           Corporation (of which Blue Cross is a division), violated Section 1557 of the Affordable
20         Care Act, 42 U.S.C. § 18116(a), and discriminated on the basis of sex against Plaintiffs
           C.P., S.L., and Jones, and the Plaintiff Class when it administered and enforced
21         categorical exclusions of some or all gender-affirming health care services as they are
           defined in the class definitions. As a “health program or activity” subject to Section 1557,
22         Blue Cross cannot discriminate in any of its activities, including but not limited to, its
           activities as a third-party administrator.
23

24

     Judgment
                Case 3:20-cv-06145-RJB Document 221 Filed 01/22/24 Page 2 of 2




 1           The class is entitled to a prospective injunction prohibiting Blue Cross from applying the

 2 discriminatory exclusions in the future as follows:

 3           Blue Cross, its agents, employees, successors, including the Health Care Service
             Corporation, are hereby PERMANENTLY ENJOINED from administering or enforcing
 4           exclusions and any policies or practices that wholly exclude or limit coverage of “gender-
             affirming health care,” so long as it is a “health program or activity” under the ACA’s
 5           Section 1557, 42 U.S.C. § 18116(a).

 6           The retrospective class is entitled to an injunction setting forth equitable tolling of the

     time limits to make claims or file appeals set out in their plans and for reprocessing. Those
 7
     injunctions are as follows:
 8
             Blue Cross is enjoined from applying the original time limits in Class members’ health
 9           plans for submitting claims or appealing adverse benefit determinations, but only as to
             claims for gender-affirming health care that were denied based solely on the exclusions
10           of gender-affirming health care services during the Class period. Class members will
             have 90 days from the date the Class notice is submitted to class members, to submit
11           claims for gender-affirming care that were denied for pre-authorization and/or post-
             service based solely upon the exclusions for gender-affirming care.
12
             Blue Cross shall accept and process these claims consistent with the remaining terms of
13           the plans, the Administrative Services Agreements, other contracts, and indemnification
             agreements, subject to this Order and without administering the exclusions.
14
             The class is entitled to court-approved notice of this case to class members at Blue Cross’s
15
     expense.
16
             The named Plaintiffs are each entitled to nominal damages of $1.00 for processing this case
17
     to success for the class.
18
             Dated this 22nd day of January 2024.
19

20                                                  Ravi Subramanian
                                                    Clerk of Cou
                                                             Court
                                                               urrtt
21

22                                                  ___________________
                                                    _ ______
                                                    __     _____
                                                              ________ ___________
                                                    Gretchen Craft,fftt, Deputy
                                                              Crraaft,   Deepu
                                                                         D  puttyy Clerk
23

24

     Judgment
